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Attorneys for Plaintiff Gregory Scott Del Amo

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

GREGORY SCOTT DEL AMO, an CASE NO. CV 07-663-PSG(JWJX)
13 individual,
HONORABLE PHILIP S.
14 GUTIERREZ
Plaintiff,
15 NOTICE OF
vs. ACKNOWLEDGMENT OF
16 SATISFACTION OF FINAL
NORMAN BACCASH, an individual; MONETARY JUDGMENT
17 NO CASH, INC.; a California ENTERED ON AUGUST 12,
corporation; and DOES 1 -20, inclusive, 2008
18
19 Defendants.
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22 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
23 Plaintiff Gregory Scott Del Amo (“Del Amo”) hereby acknowledges that

24 Defendants Norman Baccash and No Cash, Inc. (“Defendants”) have satisfied the
25 Court’s Final Judgment entered on August 12, 2008, Docket #147, on Del Amo’s
26 claims for monetary relief, and that Del Amo has received the full amount of $ 1 0,5 00
27 awarded by the Court, including accrued interest and costs.

28 Del Amo hereby also provides notice that Defendants have not satisfied the

 

 

Case 2:

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Court’s Final Judgment entered on August 12, 2008 on Del Amo’s claims for
injunctive relief, and that Defendants have not returned any and all copies of the
photographs “Alaurahallfem024,” “Alaurahallfem 027,” “Alaurahallfem 052,”
“Bellawall 048,” “Bellawall 053,” “Bellawall 068,” “BellaWall 082,” “Jadecouch
016,” “Jadecouch 039,” “Jadecouch052,” “Jadecouch 062,” “Jadecouch 077,”

“Jadecouch 084,”and “Sunnyleonehall 015,” Within their possession to Del Amo’s

counsel.

DATED: June /Q, 2009 REUBEN, RAUCHER Ul\/I

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Gr§ ory P. Barc“rrre

tome or Plaintiff GREGORY SCOTT
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